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                An official website of the United States government
                Here’s how you know


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           It's a New Dawn, It's a New Day, It's a New
           Website for CISA!
           Released: February 24, 2023

           Jen Easterly, Director, CISA




           I’m Feeling Good! Why? Because this morning, we are officially announcing
           the launch of CISA’s new website </>! It consolidates resources making them
           easier to find and highlights our agency’s focus on coming together as One
           CISA. This project has been a long time coming, and we couldn’t wait to finally
           share it with you. I Won’t Back Down from talking about all the goodness you’ll
           find when you jump in and start exploring.

           Many of you told me that while there was a lot of information on the website, it
           wasn’t organized in a way to easily find resources unless you knew CISA and
           understood our structure. And even then, there were times you Still Hadn’t



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           Found What You Were Looking For. Based on that feedback, my web team
           spent several months talking to stakeholders for input to help them develop a
           new, user-centric design that makes our agency’s resources and tools easier to
           find. The new site is intuitively organized by service and tool, but there are also
           audience-based search capabilities, </audiences> so individuals and key
           stakeholders have another way to find what they’re looking for. You asked for
           easy to use and You Got It.

           We added a new Spotlight section </spotlight> that highlights the topics we
           support daily so you can see what we’re focused on Right Now and stay up-to-
           the minute on timely, trending issues. And our News and Events page </news-
           events>   will let you see what we’ve said and done in the past, and where we’ll be
           in the future. We made it easy, fun, and informative. I have More Than a
           Feeling you’ll find what you need quickly and easily!

           Additionally, we want to bring greater attention to the hiring opportunities
           </careers>    at CISA and to focus on bringing more diversity and inclusivity into the
           work force. It’s a Sad But True fact that there isn’t a lot of diversity in the cyber
           career fields, and CISA aims to change that.

           Despite what You Might Think, this website wasn’t an easy or fast project. We
           didn’t wave a magic wand and yell Abracadabra! It took a lot of Patience and
           heads down work to re-imagine the navigation, streamline content, and
           develop a site that reflects our One CISA philosophy. For instance, when this
           new site went live, it incorporated the former US-CERT website. All that
           operational content </news-events/cybersecurity-advisories>—the alerts and advisories
           —are still there, but now users don’t need to visit multiple websites to find it.




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           But wait, if you haven’t visited the resources and tools section, then You Ain’t
           Seen Nothing Yet! Instead of having resources and tools buried under the
           divisions providing them, we consolidated them into a filterable system that
           makes it easy to find exactly what you’re looking for with just a few simple
           clicks. Don’t believe me? Visit our Resources and Tools page </resources-tools>
           and play with the new filterable system. It will Rock You Like a Hurricane!

           CISA.gov is now truly a one-stop-shop for our partners and the American
           people to find everything they need for cybersecurity and infrastructure
           security. Consolidating all CISA services, tools, and sites into one place makes
           it easier for our partners and stakeholders to find what they need, but it also
           simplifies the process of reporting information to us. For example, new
           vulnerabilities can now be submitted for a coordinated disclosure at the
           updated CISA.gov/report </report> page. Everything is in one place, but don’t
           worry, you can still upload the same information to the Vulnerability Information
           and Coordination Environment <https://www.kb.cert.org/vuls/report/> (VINCE) if you
           prefer.

           We want CISA.gov to be your Home Sweet Home for all cybersecurity and
           infrastructure security information. The website is just Another Brick in the Wall
           of our nation’s cyber defense. Visit. Click. Learn. Follow us. We’re confident
           you’ll find it more user-friendly, enjoy the new interactive features, and easily
           locate what you need. From advisories and alerts to training and resources, it's
           all there on our revamped website.

           This newly renovated and updated CISA.gov is my Pride and Joy, and I hope
           you think it’s as great as we do! But don’t take my word for it; Go Your Own
           Way and find all the information you need to totally rock our nation’s cyber and
           infrastructure security! We hope you say it is, “Just What I Needed!”




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